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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


 HEALTH FREEDOM DEFENSE
 FUND, INC.; ANA CAROLINA
 DAZA; and SARAH POPE,

                    Plaintiffs,

          v.                                Case No. 8:21-cv-1693-KKM-AEP

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United
 States, et al.,

                    Defendants.


                                   NOTICE OF APPEAL

      Defendants hereby appeal to the United States Court of Appeals for the

Eleventh Circuit from the Court’s order and judgment issued April 18, 2022 (ECF

Nos. 53, 54), granting Plaintiffs’ cross-motion for summary judgment (ECF No. 48)

and denying Defendants’ motion for summary judgment (ECF No. 45), and from all

previous rulings in this action.
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Dated: April 20, 2022              Respectfully submitted,

                                   BRIAN M. BOYNTON
                                   Principal Deputy Assistant Attorney General

                                   ROGER B. HANDBERG
                                   United States Attorney

                                   ERIC B. BECKENHAUER
                                   Assistant Branch Director

                             By:   /s/ Stephen M. Pezzi
                                   STEPHEN M. PEZZI
                                   ANDREW F. FREIDAH
                                   JOHNNY H. WALKER
                                   MICHAEL J. GERARDI
                                     Trial Attorneys
                                   United States Department of Justice
                                   Civil Division
                                   Federal Programs Branch
                                   1100 L Street NW
                                   Washington, DC 20005
                                   Telephone: 202-305-8576
                                   Email: stephen.pezzi@usdoj.gov

                                   Attorneys for Defendants




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